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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       CRIMINAL NO. 23-cr-91-02 (CKK)
                                               :
               v.                              :
                                               :
JIN GUANGHUA,                                  :
                                               :
       Defendant.                              :

                      GOVERNMENT RESPONSE TO DEFENDANT’S
                         MOTION TO TREAT AS CONCEDED

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully submits its Response to the Defendant’s Motion to

Treat as Conceded defendant’s Motion in Limine, which itself seeks to ”preclude the Government

from introducing expert testimony (ECF No. 88). The instant Motion, filed on June 9, 2025,

appears to relate to the government’s purported “failure” to respond to defendant’s Motion in

Limine to Preclude Expert Witnesses (ECF No. 80). In support of this motion, the government

relies on the following statement of points and authorities, and any other points and authorities that

may be cited at a hearing on this motion.

       The scheduling order (ECF No. 39) issued in this matter provided that: (a) Evidentiary

Pretrial Motions (“such as motions to suppress evidence, or Daubert”) be filed on May 12, 2025,

and responses filed on June 2, 2024; and (b) Motions in Limine be filed on July 1, 2025 and

responses filed on July 15, 2025.

       Defendant’s motion (ECF No. 80) was styled as a motion in limine and not as a motion to

suppress; the government intended to file its opposition on July 15, 2025, in accordance with this

Court’s scheduling order. In the event that the Court determines that the government should




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respond to the defendant’s Motion in Limine prior to July 15, 2025, the government would request

14 days from the to respond.1

         Wherefore, the government respectfully requests the Court deny the instant Motion to Treat

as Conceded.

                                                      Respectfully submitted,

                                                      JEANNINE FERRIS PIRRO
                                                      United States Attorney

                                             By:       /s/ Steven Wasserman__________
                                                      Steven B. Wasserman
                                                      D.C. Bar No.453251
                                                      Karen Seifert
                                                      N.Y. Bar No. 4742342
                                                      Assistant United States Attorneys
                                                      National Security Section
                                                      601 D Street, NW, 5th Floor
                                                      Washington, DC 20530
                                                      (o) 202-252-7719 (Wasserman)
                                                      (o) 202-252-7527 (Seifert)
                                                      steve.wasserman@usdoj.gov
                                                      karen.seifert@usdoj.gov

                                                      Christina Clark
                                                      D.C. Bar No. 995326
                                                      Trial Attorney
                                                      U.S. Department of Justice
                                                      National Security Division
                                                      950 Pennsylvania Avenue, NW
                                                      Washington, DC 20530
                                                      christina.clark3@usdoj.gov
                                                      (o) 202-412-4213




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  After reviewing the defendant’s motion to preclude (ECF #80), it appears that the government inadvertently left out
the Curriculum Vitae when it filed the Notice of Expert Witness (ECF #41). Now aware of the same, the government
has provided the CV to defense counsel by letter dated June 9, 2025. Given that there is still three months before the
start of trial, defendant’s claim of prejudice due to the inadvertent non-disclosure lacks merit.

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